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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 SUSAN PHILLIPS and JEFFREY                        )
 PHILLIPS, as Administrators of the Estate of      )
 MATTHEW PHILLIPS, Deceased,                       )
                                                   )
                               Plaintiffs,         )   No. 22 C 1048
                                                   )
                       v.                          )   Judge Wood
                                                   )
 UNITED STATES OF AMERICA,                         )
                                                   )
                               Defendant.          )

                 UNITED STATES’ RESPONSE IN OPPOSITION TO
               PLAINTIFFS’ MOTION TO LIFT OR MODIFY THE STAY

                                             Introduction

       After two federal inmates were indicted for murdering fellow inmate Matthew Phillips,

United States v. Simonson, et al., No. 21 CR 50064 (N.D. Ill. filed Dec. 7, 2021), that inmate’s

parents (as administrator of his estate) brought this Federal Tort Claims Act action against the

United States, alleging that the Bureau of Prisons’ negligence contributed to the murder. The

parallel civil and criminal cases involve many of the same parties, issues, and facts, and the

continued litigation of the civil matter would interfere with the criminal proceeding. To prevent

this civil case from damaging the prosecution of Matthew Phillips’s alleged murderers, this court

on January 24, 2023, entered an order staying this case pending resolution of the closely related

criminal matter. Dkt. 25. Plaintiffs, for the same reason presumably, did not oppose the stay. Dkt.

24 ¶ 5. The criminal case is set for trial to commence on May 5, 2025. No. 21 CR 50064, Dkt.

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       Plaintiffs have now filed a motion asking the court to vacate or modify the stay and allow

them to proceed with civil discovery. Plaintiffs have not shown “good cause” as is required under
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Fed. R. Civ. P. 16(b)(4) for a lifting or modifying the stay order. Nothing has changed since the

entry of the stay except that the criminal case now has a firm trial date just nine months away.

Plaintiffs’ motion should be denied.

                                               Background

          Matthew Phillips, Brandon Simonson, and Kristopher Martin were all inmates at United

States Penitentiary Thomson, a Bureau of Prisons facility located in Thomson, Illinois, in late 2019

and early 2020. United States v. Simonson, et al., No. 21 CR 50064, Indictment, Dkt. 2 (N.D. Ill.

Dec. 7, 2021). It is alleged that Simonson and Martin identified as members of a white supremacist

group called the Valhalla Bound Skinheads. Id. at 2. On March 2, 2020, all three inmates were

placed in a recreation cage together, at which time Simonson and Martin attacked Phillips, who

was Jewish and who had a tattoo of the Star of David on his chest. Dkt. 1,1 ¶¶ 9, 17. Phillips died

a few days later as a result of the attack. Id. at ¶ 19; Indictment, United States v. Simonson, Dkt.

2 at 5.

          On December 7, 2021, a federal grand jury returned an indictment charging Simonson and

Martin with second-degree murder in violation of 18 U.S.C. § 1111(a) and (b), conspiracy to

commit murder in violation of 18 U.S.C. § 1117, a hate crime in violation of 18 U.S.C.

§ 249(a)(1)(B)(i), and assault in violation of 18 U.S.C. § 113(a)(6) and (b)(2). United States v.

Simonson, Indictment, Dkt. 2. While the government provided a bulk of discovery by July 2022,

the criminal defendants in 2023 requested vast amounts of discovery exceeding what is required

to be produced in criminal cases, and the United States has been litigating against these aggressive

discovery requests by the defense counsel in the criminal case. Those issues are being resolved,

and the case is now set for trial on May 5, 2025.



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              Unless otherwise indicated, “Dkt.” references are to the docket in this case.

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        Plaintiffs in this civil case, Susan and Jeffrey Phillips, as administrators of the estate of

their son, submitted an administrative tort claim in June 2021 to the BOP, alleging that its failure

to separate inmates with known conflicts and supervise the recreation yard caused Phillips’s death.

Dkt. 1, ¶¶ 35, 36. After the claim was denied, the parents filed this lawsuit in February 2022. Dkt.

1. As in their administrative claim, plaintiffs allege that the BOP was negligent by not separating

Phillips, Simonson, and Martin during recreation time because of their competing gang and

religious affiliations. Id. at ¶¶ 12, 23, 26–27, 42–43, 51–52. Plaintiffs further allege that the BOP

was negligent when its employees allegedly abandoned their posts and failed to intervene in

Martin’s and Simonson’s attack on Phillips. Id. at ¶¶ 18, 29, 31, 42–43, 51–52. Thus far, the

parties have exchanged initial disclosures and agreed to a protective order to govern this

proceeding, which was entered by the court. Dkt. 21. Plaintiffs have served a third-party document

subpoena as well as broad initial written discovery requests on the United States, seeking various

items, including information about any separation orders and inmate monitoring documents that

were in place for the three inmates (Phillips, Simonson, and Martin) as well as Simonson’s and

Martin’s entire agency files, agency and institutional policies regarding inmate monitoring and

placement, investigatory documents, and incident reports and investigatory files for every violent

altercation or suicide incident at USP Thomson from 2017 to the present.

        The parallel civil and criminal cases involve many of the same parties, issues, and facts.

On January 24, 2023, the court entered an order staying this case pending resolution of the closely

related criminal matter. Dkt. 25. Plaintiffs did not oppose the stay. Dkt. 24 ¶ 5. They now want

to at least partially lift the stay in this civil case, although the criminal case is still pending and has

a trial date.




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                                             Argument

I.     Plaintiffs Have Not Shown Good Cause to Lift or Modify the Stay.

       Plaintiffs motion to lift or modify the stay should be denied because plaintiffs have failed

to show good cause as required by Fed. R. Civ. P. 16(b)(4), which provides that a “schedule may

be modified only for good cause and with the judge’s consent.”               There are no changed

circumstances that warrant this court changing its order staying the civil case. Plaintiffs do not

contend that the court erred by entering its order staying the civil case. Indeed, they agreed to the

stay, which the court appropriately entered. United States v. Kordel, 397 U.S. 1, 12 n.27 (1970)

(citing cases); see also Landis v. N. Am. Co., 299 U.S. 248, 254–55 (1936) (“[T]he power to stay

proceedings is incidental to the power inherent in every court to control the disposition of the

causes on its docket with economy of time and effort for itself, for counsel, and for litigants.”).

       The only change is that plaintiffs have now decided to reverse their position; their change

of mind is not sufficient to warrant this court changing the order that it properly entered last year.

Plaintiffs assert that the criminal case has been ongoing for “three-and-a-half years” during which

time, according to plaintiffs, “little has been accomplished.” Dkt. 39 at 3. Not so. Putting aside

that the criminal case has been ongoing for only two and a half years, not three and a half as

plaintiffs mistakenly assert, there is no basis for plaintiffs’ claim that “little has been

accomplished” in the criminal case. Over the last year while the civil stay has been in place,

criminal defense counsel has vigorously pressed aggressive discovery demands, to which the

government has appropriately responded both in writing and during multiple court hearings. The

criminal case now has a trial date, which is only nine months away. The set trial date is not a

changed circumstance that warrants lifting or modification of the stay. Just the opposite. It makes

no sense to have stayed the case for a year and a half only to undo and forfeit the benefits that the

stay has provided now that a trial date for the criminal case is in sight.

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        Ironically, lifting or modifying the stay as plaintiffs are seeking, would play into the

defense delay strategy in the criminal case because the discovery generated in the civil case would

have to be provided to the criminal prosecutors, sorted, and litigated in the criminal case. Forcing

the government to do this is also inefficient because it will take away time, resources, and energy

needed to prosecute and prepare the criminal case for trial.

II.     The Interests of Justice Continue to Support the Stay.

        It is well established that the United States has a strong interest in “ensuring that the

criminal process can proceed untainted by civil litigation.” Chagolla v. City of Chicago, 529 F.

Supp. 2d 941, 947 (N.D. Ill. 2008). That strong interest as well as the interests of justice continue

to support the stay of this case under the following six non-exhaustive factors that courts in this

district use to determine whether a stay is warranted:          “(1) whether the civil and criminal

proceedings involve the same subject matter; (2) whether the government has initiated both

proceedings; (3) the posture of the criminal proceeding; (4) the effect on the public interest of

granting or denying a stay; (5) the interest of Plaintiff in proceeding expeditiously, and the

potential prejudice that Plaintiff may suffer from a delay; and (6) the burden that any particular

aspect of the civil case may impose on Defendants if a stay is denied.” Commodity Futures

Trading Comm’n v. Nowak, No. 19 C 6163, 2020 WL 3050225, at *3 (N.D. Ill. June 8, 2020)

(citing Salcedo v. City of Chicago, 2010 WL 2721864, at *2 (N.D. Ill. July 8, 2010)). “In effect,

the court must balance the civil plaintiff’s right to prepare his case promptly against the public

interest in withholding full disclosure sought by the civil plaintiff.” Benevolence Int’l Found., Inc.

v. Ashcroft, 200 F. Supp. 2d 935, 938 (N.D. Ill. 2002) (citing Campbell, 307 F.2d at 490).

        The United States has a significant interest in protecting the integrity and effectiveness of

its prosecutions, and continuation of the stay is critical to its ability to conduct the pending closely

related prosecution without civil discovery that would not only interfere with the prosecution but

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would also unnecessarily delay it. The continued stay of this case through the disposition of

criminal charges and any resulting judgment and sentencing will enable the United States to

prosecute its case without the complications and interference presented, for example, by subjecting

potential criminal witnesses to civil discovery. The stay continues to potentially benefit the civil

action by resolving common issues, reducing the need for certain discovery, and eliminating

inefficient discovery that could be frustrated by the criminal proceedings. On balance, the six

factors described in Nowak weigh in favor of a stay.

       1.      Same Subject Matter

       First, the ongoing criminal murder prosecution overlaps almost entirely with the issues

raised in plaintiffs’ complaint. Both cases involve the circumstances surrounding and reasons for

the March 2, 2020 attack on Matthew Phillips and, specifically, Simonson’s and Martin’s

motivations for carrying out the attack. Even though the civil wrongful death case expands out

from the attack itself to include agency knowledge and decision-making issues, this factor easily

weighs in favor of a stay. See Tokio Marine Specialty Ins. Co. v. Springfield Shooting Ctr., Inc.,

No. 18 C 3055, 2020 WL 13240706, at *2 (C.D. Ill. Feb. 13, 2020) (“The fact that the criminal

case involves the same matter at issue in this civil case favors a stay.”); accord Nowak, 2020 WL

3050225, at *3.

       Because of the extensive overlap between the criminal prosecution and this civil matter,

lifting or modifying the stay to allow the two cases to proceed simultaneously would have the

potential to create a duplication of effort and a corresponding waste of judicial resources. United

States v. All Meat & Poultry Prod., No. 02 C 5145, 2003 WL 22284318, at *5 (N.D. Ill. Oct. 3,

2003). For individuals who may be considered as a witness in both cases, the stay of the civil case

until the completion of the criminal case will likely reduce the need for some civil discovery from

them and, at a minimum, it will assist in the orderly litigation of this case, as the civil plaintiffs

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will have non-privileged witness statements and trial testimony before civil depositions will occur.

See id. (finding that the possibility of transcripts or other evidence from the criminal proceedings

could eliminate the need for certain discovery in the civil proceeding). Conversely, if the court

lifts or modifies the stay to allow civil discovery to proceed, the discovery generated in this civil

case will likely be used or have the effect of causing unnecessary delay, complication, and the risk

of jury nullification in the criminal prosecution through the injection of tangential or even

irrelevant issues into that matter. The criminal defendants will have access to all of the civil

discovery that the United States provides or receives, and (as discussed below) criminal defendants

should not be permitted to avoid the limits on criminal discovery through civil discovery. Because

of these issues, a stay of this case will promote judicial economy, which is a related and relevant

consideration in this analysis. Plaintiffs’ memorandum simply skips over this factor entirely, an

implicit recognition that it supports the stay that the court has properly entered.

       2.      Government Involvement

       The United States is party to both the criminal and civil actions, but it initiated only the

criminal prosecution. Plaintiffs argue that the fact that the United States did not initiate both

actions weighs against a stay because the civil case does not present any danger that the United

States will use the civil discovery process to obtain evidence for use in the criminal prosecution.

The United States agrees that that particular danger is not present, but because the United States is

a party to both cases, there is still the concern that discovery in this case would allow the civil

discovery process to expand the scope of discovery in the criminal prosecution beyond that

allowed by the criminal discovery rules. In fact, before the civil stay was entered, defense counsel

for Simonson wrote to the criminal prosecutor that gathering what he anticipated would be a

“massive” amount of discovery materials from the civil case would take time and would affect his




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trial readiness. The referenced email chain (between criminal defense counsel Richard Kling and

AUSA Vincenza Tomlinson) is attached as an exhibit.

          The United States’ participation as a party to both actions further weighs in favor of a stay

because of the complications with and tension between the government’s criminal discovery

obligations and its ability to simultaneously present a defense in this civil case. And the fact that

the plaintiffs in this civil case, as the parents of Phillips, are victim-witnesses in the criminal

prosecution who may be called as witnesses at trial leads to the conclusion that discovery and

testimony elicited in the civil case will undoubtedly impact the criminal prosecution. Again, given

the strong interest in protecting the integrity of the criminal matter, this factor weighs in favor of

a stay.

          3.     Posture of Criminal Proceeding

          As already mentioned, Simonson and Martin were federally indicted on December 7, 2021

(before this civil case was filed) in the Western Division of the Northern District of Illinois, and

criminal discovery is ongoing. The case is set for trial to begin May 5, 2025. The indicted status

of the criminal case is one of the strongest factors that supports the stay. All Meat & Poultry Prod.,

2003 WL 22284318, at *3; see also Salcedo, 2010 WL 2721864, at *3 (“[O]nce an indictment is

handed down, as is the case here, a stay is appropriate.”); Cruz v. Cnty. of DuPage, No. 96 C 7170,

1997 WL 370194, at *3 (N.D.Ill., June 27, 1997) (same).

          The pending prosecution and its posture raise issues that will affect the civil case. For

example, plaintiffs have listed “all eyewitnesses” to the events leading up to, during, and following

the incident on their initial disclosure witness list; this necessarily includes Simonson and Martin.

Simonson and Martin are also listed on the government’s disclosures as individuals with

knowledge about the case.         However, Simonson and Martin will likely assert their Fifth

Amendment privilege against self-incrimination in response to any civil discovery request.

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Because their motivations for attacking Phillips are central to this (and the criminal) case,

discovery into this topic likely will be inefficient, frustrated, and unavailable until after the

conclusion of the criminal proceeding anyway. A stay is favored where the outcome of a criminal

case can be expected to remove the predicate for the assertions of Fifth Amendment rights by

potential deponents. See All Meat & Poultry Prod., 2003 WL 22284318, at *5. In addition,

plaintiffs in this civil case appear interested in pursuing discovery related to or from the other

inmates in the recreation area or other inmates at USP Thomson, i.e., potential witnesses in the

criminal case, which would be an appropriate action in the usual civil wrongful death suit. But

the exposure of these potential criminal witnesses to civil depositions could easily compromise the

criminal proceeding.    That is, proceeding with civil discovery could present a risk to the

prosecution’s universe of potential witnesses.

       4.      Public Interests at Stake

       It is unquestionably in the public interest to hold individuals accountable for any criminal

behavior, especially violent criminal behavior like murder. Along these lines, the public has “an

interest in ensuring that the criminal process can proceed untainted by civil litigation.” Chagolla,

529 F. Supp. 2d at 947. This is acutely true here, due to the seriousness of the charges against

criminal defendants Simonson and Martin. See Horton v. Pobjecky, No. 12 C 7784, 2013 WL

791332, at *3 (N.D. Ill. Mar. 4, 2013) (“the public interest in the unhindered prosecution of violent

crimes is very high”); accord Tokio Marine Specialty Ins., 2020 WL 13240706, at *3. Criminal

liability can incapacitate guilty defendants from future wrongdoing and it “carries with it moral

disapprobation and may be more effective at ensuring both general deterrence and specific

deterrence.”   Salcedo, 2010 WL 2721864, at *3.           The public’s interest in effective law

enforcement—and correspondingly, the United States’ interest in protecting the integrity of the

criminal charges issued by the grand jury—should be given “substantial weight.” Benevolence

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Int’l Found., Inc., 200 F. Supp. 2d at 941 (quoting Campbell, 307 F.2d at 487). In other words, if

Simonson and Martin are guilty of murder, it is in the public interest (and the parents’ interest) that

the prosecution not be derailed by a civil proceeding that can simply be temporarily delayed.

       Although the public also has an interest in the prompt disposition of civil litigation, that

interest is outweighed by the interest in pursuing justice in the related criminal prosecution and

allowing the prosecution to proceed unimpaired. E.g., Sec. & Exch. Comm’n v. Shkreli, No. 15 C

7175, 2016 WL 1122029, at *7 (E.D.N.Y. Mar. 22, 2016) (“Ultimately, the court concludes that

the public’s interest in the effective enforcement of the criminal law is the paramount public

concern.”).   That is, the “possibility that the orderly progress of the criminal cases and

investigations—particularly those involving the exact same incidents at issue in the present case—

will be hindered by issues that could arise from ongoing civil discovery is significant enough to

be worthy of consideration.” Chagolla, 529 F. Supp. 2d at 947; see also Glover v. Upmann, No.

19 C 3738, 2020 WL 1433801, at *4 (N.D. Ill. Mar. 24, 2020) (noting that allowing criminal

proceedings to continue without civil interference is the “greatest interest”).

       If the court were to lift or modify the stay entered in this case, the resulting civil discovery

may very well have the significant effect of hindering and tainting the criminal proceeding.

Because the United States is a defendant in this civil case, it is likely that, despite the protective

order in place, all discovery in the civil case could either be discoverable or subject to disclosure

obligations in the criminal case, meaning that the criminal case would effectively be postponed for

as long as — and for each time that — additional civil discovery were produced or generated. Put

differently, if the United States acquires information in civil discovery that is relevant to the

criminal prosecution (and especially information that is arguably relevant to the defense), it is hard

to imagine how that information can be withheld from the defense in the criminal case without

putting any criminal conviction at risk. See Fed. R. Crim. P. 16; Brady v. Maryland, 373 U.S. 83,

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87 (1963) (government violates a criminal defendant’s due process rights when it fails to disclose

evidence favorable to the defendant and material to guilt or punishment); Giglio v. United States,

405 U.S. 150, 153 (1972) (extending Brady to impeachment evidence). This means that criminal

discovery will be ongoing so long as new testimony and documents are being produced civilly,

reviewed, and then potentially produced again in the criminal matter.

       Since the criminal murder prosecution and the civil wrongful death case concern the same

acts, there would certainly be significant overlap in the gathering of evidence in the civil and

criminal cases if the court were to lift or modify the stay to allow that gathering to proceed at the

same time in both cases. Not only will this create unreasonable delay for the prosecution, but this

also raises the natural concern that when parallel civil and criminal cases are pending, civil

discovery may undermine the more limited criminal discovery process. See Benevolence Int’l

Found., 200 F. Supp. 2d at 939–40 (discussing the need to harmonize the conflicting discovery

rules and prevent those applicable to one suit from doing violence to those pertaining to the other)

(citing cases, including United States v. Phillips, 580 F. Supp. 517, 518–19 (N.D. Ill. 1984)).

Indeed, “the pendency of parallel criminal and civil matters poses the related risk of giving persons

who have been accused criminally or whose conduct is under investigation the ability to use the

civil discovery process to ferret out the particulars of the prosecuting authorities’ case against

them, an opportunity they would not have if no civil case were pending.” Chagolla, 529 F. Supp.

2d at 946.

       Ultimately, the principles supporting judicial stays are magnified in cases where, as here,

a civil litigant seeks discovery into subjects at issue in the parallel criminal proceeding. Because

of the significant distinctions between civil and criminal discovery, the trial court should not

“ignore the effect discovery would have on a criminal proceeding that is pending or just about to

be brought.” Campbell, 307 F.2d at 487; see also Phillips, 580 F. Supp. at 520 (granting protective

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order and ordering the cessation of civil discovery until criminal trial was complete to prevent

discovery abuses). Accordingly, it is in the public’s interest to allow the prosecution of violent

homicide to proceed free from interference from a related civil action and fully within the

applicable rules of criminal procedure.

        5.      Plaintiffs’ Interests

        Plaintiffs—the mother and father of a homicide victim—are themselves victims of the

criminal defendants’ alleged conduct. They therefore have an interest in bringing to justice and

holding accountable those offenders who would conspire to kill a fellow inmate in a federal

penitentiary. To be sure, plaintiffs also have an interest in the timely resolution of their civil claims

and compensation if they prove they are entitled to it. However, the interest of the public (and the

parents) in justice and criminal accountability outweighs the financial interest of the parents alone.

E.g., Kaiser v. Stewart, No. 96 C 6643, 1997 WL 66186, at *4 (E.D. Pa. Feb. 6, 1997) (“While a

civil litigant with a private dispute has an interest in the prompt disposition of his or her claims,

the public has a greater interest in enforcement of the criminal law. . . . This interest alone may be

enough to stay the entire civil proceeding . . . .”). Although delay admittedly is not a benefit to

any case, the stay of this civil case is temporary and will not impair plaintiffs’ ability to litigate it

after the conclusion of the criminal prosecution, which is now in sight.

        The court does not have to necessarily choose between the fair pursuit of the criminal case

and the fair pursuit of the civil case; both can be pursued fairly. In fact, continuing to allow the

criminal case to go forward without interference will not only vindicate the United States’ and the

plaintiffs’ interest in the pursuit of justice, it also will likely work to benefit the civil case and

judicial economy in some ways because common issues can be resolved or the need for certain

discovery may be eliminated. Accordingly, the United States is not aware of any significant

burden that is imposed on plaintiffs associated with the stay of this case.

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        6. Burden on United States

        In contrast, the burdens on the United States that would be presented by lifting or modifying

the stay of the civil case are the interference with and unnecessary delay of its criminal prosecution

of two inmates charged with committing a terrible and violent crime, as already mentioned in the

discussion of various factors above. Not only would the civil discovery in this matter complicate,

delay, and possibly impair the criminal prosecution by its introduction or production there,

discovery requests from the plaintiffs in this case will result in a large drain of resources from the

criminal prosecution, as the Assistant United States Attorney assigned to the Simonson and Martin

case would have to review documents potentially responsive to the plaintiffs’ civil discovery

requests for work product, grand jury materials, and informant privileges, among other things.

This, too, would interfere with the United States’ ability to prosecute Simonson and Martin

effectively and efficiently.

        Overall, “[a]dministrative policy gives priority to the public interest in law enforcement.

This seems so necessary and wise that a trial judge should give substantial weight to it in

balancing the policy against the right of a civil litigant to a reasonably prompt determination of

his civil claims or liabilities.” Campbell, 307 F.2d at 487. In weighing the interests between the

criminal prosecution and this case, the overriding public interest in punishing persons responsible

for crimes means that the criminal prosecution should take priority and be tried first. Therefore,

it is in the interests of justice to continue to stay this civil case pending resolution of the related

criminal case.




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                                       Conclusion

   For the foregoing reasons, the plaintiffs’ motion to lift or modify the stay should be denied.

                                          Respectfully submitted,

                                          MORRIS PASQUAL
                                          Acting United States Attorney

                                          By: s/ Jonathan Haile
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                        EXHIBIT
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From:               Richard Kling
To:                 Tomlinson, Vincenza (USAILN)
Subject:            Re: [Ext] RE: [EXTERNAL] Simonson startus report
Date:               Tuesday, November 29, 2022 9:35:43 AM




Obviously depends on whether any plea is going to be reasonable in light of the charges in light of his back. I
understand the families position. But there’s a massive discovery in this case, and I also have a massive discovery
that I’m attempting to gather from the civil case. So it is going to take some time. Moreover, until I can share the
discovery with my client, and discuss the discovery with my client, and give materials to my client, there is no way
that I will be close to being ready for trial.

Richard S. Kling
Clinical Professor of Law
Chicago Kent College of Law
rkling@kentlaw.edu
312-906-5075(o)
312-497-1004 (c)

> On Nov 29, 2022, at 9:05 AM, Tomlinson, Vincenza (USAILN) <Vincenza.Tomlinson@usdoj.gov> wrote:
>
> ﻿Hi Richard,
>
> The family is getting anxious and eager to move forward and I don't blame them for obvious reasons.   Is there a
date where you anticipate finishing your review of the discovery? Do you foresee this going the trial route or
resolving this with a plea?   Please let me know.
>
> Thanks,
> Enza
>
> -----Original Message-----
> From: Richard Kling <rkling@kentlaw.iit.edu>
> Sent: Tuesday, November 29, 2022 7:18 AM
> To: Tomlinson, Vincenza (USAILN) <VTomlinson@usa.doj.gov>
> Subject: [EXTERNAL] Simonson startus report
>
> Hope you are well
> Do you want to file or shall I? Request another 60 days?
> Take care
>
> Richard S. Kling
> Clinical Professor of Law
> Chicago Kent College of Law
> rkling@kentlaw.edu
> 312-906-5075(o)
> 312-497-1004 (c)
